                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      BECKLEY DIVISION

DONALD L. BLANKENSHIP,                                )
                                                      )
                Movant,                               )
                                                      )
v.                                                    )       Civil Action No. 5:18-00591
                                                      )       (Criminal Action No. 5:14-00244)
UNITED STATES OF AMERICA,                             )
                                                      )
                Respondent.                           )

                                            ORDER

        On July 16, 2018, the undersigned conducted an in-chambers informal conference

concerning Movant’s pending “Motion to Conduct Discovery” (Document No. 681). Movant

appeared via telephone, by counsel, Benjamin L. Hatch, Howard C. Vick, Jr., Michael A. Baudinet,

and W. Henry Jernigan, Jr. The United States appeared via telephone, by counsel, AUSA Douglas

W. Squires, AUSA Jessica H. Kim, and AUSA S. Courter Shimeall. During the discussions, the

parties reached the following agreement to resolve the issues raised in Movant’s above Motion:

     1. The United States will provide to Movant the Department of Justice’s Office of

        Professional Responsibility (“DOJ”) full Report of Investigation, and documents related to

        the DOJ’s review, by August 15, 2018.

     2. If the United States is unable to produce the foregoing by August 15, 2018, the United

        States must notify the Court of its inability to comply by August 8, 2018. The United

        States must further notify the Court of the specific reasons for its inability to comply with

        the August 15, 2018 deadline, and provide the Court with a date certain for the production

        of the foregoing documents.

     3. If Movant concludes his discovery request is not satisfied after receipt and review of the
   above documents, Movant may file a new Motion for Discovery.

   Based upon the agreement of the parties as provided herein, Movant’s “Motion to Conduct

Discovery” (Document No. 681) is now MOOT and the Clerk is directed to TERMINATE

the Motion.

   The Clerk is requested to transmit a copy of this Order to counsel of record.

   ENTER: July 17, 2018.




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